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lN THE UNITED STATES DISTRICT COURT

FII.ED 3
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

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UNITED STATES OF AMERICA, CLEH|<, 113 U!S'F CT.
_k WD. C‘F `IN T£EMF`H!S
Plaintiff,
*
v. CriminalNo. 02-20440-D
*
YERVIN BARNETT, *
Defendant. *

 

ORDER GRAN'I`ING MOTION TO CONTINUE SENTENCING HEARING

 

IT IS HEREBY ORDERED that the Government'S Motion to Continue Sentencing Hearing
is hereby GRANTED and is now reset for-fwsde vlu\"!_ ¢}OO'S ?i' |' 00,? Wlth time excluded

under the Speedy Trial Act.

IT IS SO ORDERED this the Zm/L day of June, 2005.

    

TED STA ES DISTRICT JUDGE
Date: (¢"L O{

Approved: W"\z(/\»_~/

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This document entered on the docket heat
with Ftu!e 55 amd/or 32(b) FRCrP on _

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Notice of Distribution

This notice confirms a copy of the document docketed as number 106 in
case 2:02-CR-20440 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

